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                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MONTANA

  In re
                                                      Case No. 17-60270-BPH
  KEENAN P. ZENTZ AND HEIDI
  L.ZENTZ


                     Debtors.

                                                ORDER

          At Butte in said District this 3rd day of August, 2020.

          Upon review of U.S. Bank Trust National Association as Trustee of the Tiki Series III

Trust’s (“Secured Creditor”) Motion for Court Approval of Modification to Home Mortgage

Loan, and Notice, filed on July 17, 2020, and no objection thereto and request for hearing having

been filed after notice, the Court finds that the Motion is well taken and should be granted

without further notice or hearing. Accordingly,

          IT IS ORDERED that Secured Creditor’s Motion for Court Approval of Modification to

Home Mortgage Loan, filed July 17, 2020, at ECF No. 122 is granted; and the modification of

Secured Creditor’s home mortgage loan with the Debtors, as reflected in Secured Creditor’s

Motion (ECF No. 122) and attachments thereto, is approved.
